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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                   FILED
                                                               for the                                                 Oct 06 2022

                                                 Northern District
                                               __________  DistrictofofCalifornia
                                                                        __________                                  Mark B. Busby
                                                                                                              CLERK, U.S. DISTRICT COURT
                                                                                                           NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                   SAN FRANCISCO
                  United States of America                        )
                             v.                                   )
                          Melvin Diaz
                                                                  )       Case No. 3:22-mj-71287 MAG
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               September 20, 2022              in the county of           San Francisco                    in the
     Northern          District of         California         , the defendant(s) violated:

            Code Section                                                    Offense Description
21 U.S.C. § 841(a)(1) and 841(b)(1)          Distribution and possession with intent to distribute methamphetamine
(B)(viii)




         This criminal complaint is based on these facts:
Please see the attached affidavit of DEA TFO Michael Cunnie




         ✔ Continued on the attached sheet.
         ’

                                                                                              /s/ Michael Cunnie
                                                                                             Complainant’s signature
         Approved as to form /s/ Nicholas M. Parker
                                                                                        DEA TFO Michael Cunnie
                         AUSA Nicholas M. Parker
                                                                                              Printed name and title

Sworn to before me by telephone.


Date:             10/06/2022
                                                                                                Judge’s signature

City and state:                  San Francisco, California                   Hon. Thomas S. Hixson, U.S. Magistrate Judge
                                                                                              Printed name and title
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 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Michael Cunnie, a Task Force Officer of the Drug Enforcement Administration, being

duly sworn, hereby declare as follows:

                                         INTRODUCTION

       1.       I make this Affidavit in support of an application under Rule 4 of the Federal

Rules of Criminal Procedure for a criminal complaint and arrest warrant charging MELVIN

DIAZ (DOB: 10/28/1995), AKA Melvin DIAZ-Arteaga, AKA Melvin Alexis Centeno-Fuentes,

with one count of distribution and possession with intent to distribute 50 grams or more of a

mixture and substance containing a detectable amount of methamphetamine, its salts, isomers, or

salts of its isomers, in violation of Title 21, United States Code, Section 841(a)(1) and

(b)(1)(B)(viii), on or about September 20, 2022 in the Northern District of California.
                                SOURCES OF INFORMATION

       2.       Because this Affidavit is submitted for the limited purpose of securing a criminal

complaint and arrest warrant, I have not included every fact known to me concerning this

investigation. Instead, I have set forth only the facts necessary to establish probable cause that

the violations of federal law identified above have occurred.

       3.       I have based my statements in this Affidavit on my training and experience,

personal knowledge of the facts and circumstances obtained through my participation in this

investigation, information provided by other agents and law enforcement officers, and

information provided by records and databases. I believe these sources to be reliable. Where I

refer to conversations and events, I refer to them in substance and in relevant part rather than in

their entirety or verbatim, unless otherwise noted. This Affidavit also reflects my current

understanding of facts relating to this investigation, but my understanding may change in the

future as the investigation proceeds.

                                   AFFIANT BACKGROUND

       4.       I am an “investigator or law enforcement officer of the United States” within the

meaning of 18 U.S.C. § 2510(7)—that is, an officer of the United States who is empowered by

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law to conduct investigations of, and to make arrests for, the narcotics offenses enumerated in

Title 21 of the United States Code.

       5.       I am employed by the San Francisco Police Department (SFPD) as a police

officer and have been so employed since January 2, 2015. I am currently assigned as a case-

specific Task Force Officer (TFO) to the Drug Enforcement Administration (DEA) within the

San Francisco Divisional Office. I have been assigned as a case-specific DEA TFO since

February 2022.

       6.       I graduated from the SFPD academy in January 2015. In the police academy, I
received 40 hours of narcotics-related training. I also attended the SFPD detective school where I

received additional narcotics investigations training. The training curriculum covered all aspects

of drug investigations, including identification of controlled substances, physical surveillance,

utilization of confidential sources, interview techniques, undercover operations and the general

operation of drug trafficking organizations.

       7.       During the course of my employment as a police officer, I have participated in

many controlled substance investigations either as a case agent or in a supporting role. I have

debriefed confidential sources, and witnesses who had personal knowledge regarding drug

trafficking organizations. In addition, I have discussed with numerous law enforcement officers

and confidential sources the methods and practices used by drug traffickers. I have also

participated in many aspects of drug investigations including, but not limited to, undercover

operations, telephone toll analysis, records research, and physical surveillance. I have also

assisted in court-ordered wiretap investigations and in the execution of numerous federal and

state search and arrest warrants related to illegal activities involving controlled substances that

resulted in the arrest of suspects and seizure of controlled substances.

       8.       I have monitored, conducted surveillance, or otherwise participated in multiple

investigations that utilized wire interceptions. I have also participated in writing, editing, and

reviewing federal affidavits made in support of electronic interceptions.

       9.       Through my training, education, experience, and my conversations with other

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agents and officers who conduct drug investigations, I have become familiar with drug

traffickers’ use of mobile telephones, and their use of numerical codes and code words to

conduct their business. By virtue of my training and experience, and through my conversations

with other agents and officers who conduct drug investigations, I have become familiar with

drug traffickers’ methods of operation, including, but not limited to, the import, manufacturing,

distribution, storage, safeguarding, and transportation of controlled substances, and the methods

used by drug traffickers to collect, transport, safeguard, remit, and/or launder drug proceeds.

       10.     I have participated in the investigation discussed in this Affidavit. I have also
discussed the investigation with special agents of the DEA and with other law enforcement

agencies involved in the investigation. I have reviewed records and reports relating to the

investigation. Unless otherwise noted, wherever in this Affidavit I assert that a statement was

made, the information was provided by another DEA special agent, law enforcement officer, or

witness who may have had either direct or hearsay knowledge of that statement and to whom I or

others have spoken, or whose reports I have read and reviewed.

                                       APPLICABLE LAW

       11.     Title 21, United States Code, Section 841(a)(1) and (b)(1)(B)(viii) prohibit any

person from knowingly or intentionally distributing or possessing with intent to distribute 50

grams or more of a mixture or substance containing a detectable amount of methamphetamine,

its salts, isomers, or salts of its isomers. Methamphetamine is a Schedule II substance under the

Controlled Substances Act.

       12.     The elements of a violation of 21 U.S.C. § 841(a)(1) and (b)(1)(B)(viii) are as

follows: (i) the defendant knowingly distributed—or possessed with intent to distribute—50

grams or more of a mixture or substance containing a detectable amount of methamphetamine,

its salts, isomers, or salts of its isomers; and (ii) the defendant knew that the substance he

distributed or possessed with intent to distribute was methamphetamine or some other federally

controlled substance. “Distributing” means delivering or transferring possession of

methamphetamine to another person, with or without any financial interest in that transaction.

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                         FACTS ESTABLISHING PROBALE CAUSE

A. DIAZ Sells Approximately One Ounce of Fentanyl to an Undercover SFPD Officer on
   September 16, 2022 1
        13.     On the night of September 16, 2022, officers assigned to the SFPD’s Narcotics

Division observed individuals engaged in illegal narcotics transactions on Hyde Street between

Ellis Street and Eddy Street in the Tenderloin neighborhood of San Francisco. Based on recent

arrests and investigations, as well as multiple citizen complaints, officers assigned to this

investigation knew this area to be one where narcotics are frequently bought and sold at all hours

of the day. One of the individuals the officers observed engaging in illegal narcotics transactions

was DIAZ, a known narcotics trafficker, who was loitering on the east sidewalk of Hyde Street.

        14.     Later that evening, an SFPD officer assigned to the Narcotics Division was

working in an undercover capacity (UC) to purchase narcotics from DIAZ. Another SFPD

officer was working as the UC’s close-cover surveillance/protection officer. Additional SFPD

officers were also in the area assisting in this investigation.

        15.     The UC drove an undercover vehicle southbound on Hyde Street, a one-way

street that runs southbound, from Ellis Street toward Eddy Street. The UC then double-parked

the undercover vehicle mid-block in the eastern most lane of traffic. The UC double-parked the

vehicle next to where DIAZ was loitering amongst a crowd of people. DIAZ looked at the UC as

the UC was sitting in the driver’s seat of the undercover vehicle and nodded his head at the UC.

The UC nodded back and opened the vehicle’s driver-side door. DIAZ walked closer to the UC’s

vehicle and asked what the UC needed. The UC told DIAZ that he was looking for fentanyl and

needed a whole ounce. DIAZ asked the UC how much money the UC had. The UC told DIAZ he

could spend up to $500. DIAZ pointed to an empty parking space on the west side of the street

and told the UC to park there. The UC moved the vehicle and parked in the parking space on the

1
 Although this Affidavit is made in support of Complaint that would charge DIAZ with one
count of distributing or possessing with intent to distribute methamphetamine on September 20,
2022, it also describes two other narcotics transactions that DIAZ engaged in or coordinated with
an undercover SDPD officer.
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west side of Hyde Street.

        16.    The UC watched DIAZ approach a man standing on the east sidewalk of Hyde

Street and retrieve an object from inside the man’s backpack. DIAZ then walked to the passenger

side of the UC’s vehicle. The UC rolled down the window and DIAZ leaned into the open

window. The UC handed DIAZ $500 in city-owned funds. DIAZ then handed the UC a clear

plastic sandwich bag that contained several pieces of compressed white powder that the UC

believed to be fentanyl.

        17.    DIAZ told the UC to take down his phone number if the UC wanted more
fentanyl. Using an SFPD-issued cellphone, the UC sent a text message to the number DIAZ

provided. DIAZ told the UC his name was “Alex.” DIAZ then took out his phone and showed

the UC he had received the text the UC had sent. The UC told DIAZ that he was from Santa

Rosa and that he comes down to San Francisco to buy fentanyl and methamphetamine every one

or two weeks. DIAZ told the UC he had everything. The UC asked DIAZ if DIAZ could supply

“Oxys.” DIAZ responded saying “Yeah, M30s.” (I know, based on my training and experience,

that OxyContin pills have “M 30” imprinted on them.) The UC asked DIAZ how much he would

charge for OxyContin. DIAZ said he could sell them for $15.00 per pill. DIAZ then told the UC

to make sure to text him soon because he changes his phone number often and he will make sure

to send the UC his new phone number.

        18.    Following this interaction and narcotics transaction with DIAZ, the UC left the

area.

        19.    SFPD officers subsequently weighed the suspected fentanyl (28.3 grams gross)

and conducted a presumptive test using an SFPD-issued TruNarc Analyzer. The test showed the

substance contained mannitol. Based on my training and experience, I know that mannitol is

often used to “cut” fentanyl and that suspected fentanyl will often test in the field for mannitol.

Per SFPD policy, the suspected fentanyl was sent to the Alameda County Sheriff’s Office Crime

Lab for further testing, where Criminalist Michelle Hensley utilized chemical tests and Gas

Chromatography Mass Spectrometry to determine that the substance DIAZ sold to the UC

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contained fentanyl, as well as 4-ANPP, a fentanyl analog and a controlled substance.

B. COUNT ONE: DIAZ Sells Approximately 86.6 Grams of Methamphetamine to the UC
   on September 20, 2022
       20.    On September 20, 2022, the UC texted DIAZ and arranged to purchase three

ounces of methamphetamine for $700. DIAZ instructed the UC to meet him at 700 Geary Street

and stated “….its calmer with the police there.” The UC drove an undercover vehicle to the area

of 700 Geary Street and double-parked. At around 8:35 p.m., DIAZ approached the passenger-

side window of the vehicle. Through the rolled-down window, the UC handed DIAZ $700 in

city-owned funds. DIAZ handed the UC three clear plastic bags that each contained a substance

the UC suspected to be methamphetamine. The UC told DIAZ he still had some of the fentanyl

but would contact DIAZ soon to get more. DIAZ said, “It’s good.” DIAZ then walked away

from the UC’s vehicle toward Hyde Street. The UC drove away from the area. The interaction

between the UC and DIAZ was captured on video.

       21.    SFPD officers subsequently weighed the suspected methamphetamine (86.6

grams gross) and conducted a presumptive test using an SFPD-issued TruNarc Analyzer. The

substance tested presumptive positive for methamphetamine.

C. DIAZ Coordinates the Sale of Approximately 57 Grams of Fentanyl to the UC on
   September 24, 2022
       22.    On September 24, 2022, at around noon, the UC texted DIAZ to purchase

narcotics. DIAZ responded by text saying, “Im work in the night time bro,” and “Can you wait to

the night?” The UC conveyed to DIAZ that he needed two ounces of fentanyl urgently and that

he could meet DIAZ anywhere. DIAZ instructed the UC to meet him at 2357 109th Avenue in

Oakland, California.

       23.    The UC drove an undercover vehicle to the area of 2357 109th Avenue in

Oakland and double-parked. The UC texted DIAZ to say he had arrived at the meeting location.

DIAZ texted the UC to say his cousin “Cristian” was coming to meet the UC. DIAZ said

“Cristian” would be riding a bicycle. The UC and DIAZ then confirmed through text that the


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price for two ounces of fentanyl would be $1,000.

       24.     At around 2:05 p.m., an unknown man riding a bicycle approached the driver-side

window of the UC’s vehicle. The UC asked the unknown man if he was “Cristian.” The man said

“Yeah.” The man then handed the UC two clear plastic bags, each containing a compressed

white powder the UC suspected to be fentanyl. The UC then handed “Cristian” $1,000 in city-

owned funds. “Cristian” then rode his bicycle away from the area and the UC drove away from

the area. The interaction between the UC and “Cristian” was captured on video.

       25.     SFPD officers subsequently weighed the suspected fentanyl (57 grams gross) and
conducted a presumptive test using an SFPD-issued TruNarc Analyzer. The test showed the

substance contained mannitol. Based on my training and experience, I know that mannitol is

often used to “cut” fentanyl and that suspected fentanyl will often test for mannitol in the field.

Per SFPD policy, the suspected fentanyl was sent to the Alameda County Sheriff’s Office Crime

Lab for further testing. As of the date of this Affidavit, complete lab results are still pending.

                                      SEALING REQUEST

       26.     Based on my training and experience, the disclosure of the existence of this

Affidavit, the Complaint, arrest warrant, and/or all related documents may cause other co-

conspirators, known and unknown at this time, to destroy evidence or to conceal ongoing

criminal activity, jeopardizing the progress of this ongoing investigation. The disclosure of these

documents may also jeopardize the safety of DIAZ and/or cause him to flee from prosecution. I

therefore request that the Court seal this Affidavit, the Complaint, the summons and arrest

warrant, and all related documents.

                                          CONCLUSION

       27.     On the basis of my training and experience, my participation in this investigation,

and the information summarized above, there is probable cause to believe that on or about

September 20, 2022, in the Northern District of California, Melvin DIAZ distributed or

possessed with intent to distribute 50 grams or more of a mixture or substance containing a

detectable amount of methamphetamine, its salts, isomers, or salts of its isomers, in violation of

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21 U.S.C. § 841(a)(1) and (b)(1)(B)(viii).


                                                   /s/ Michael Cunnie
                                                  MICHAEL CUNNIE
                                                  Task Force Officer
                                                  Drug Enforcement Administration


Sworn to before me over the telephone and signed by me pursuant to Fed. R. Crim. P. 4.1 and
              6th day of October 2022.
4(d) on this ____



HON. THOMAS S. HIXSON
United States Magistrate Judge




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       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                INFORMATION                  INDICTMENT                                Name of District Court, and/or Judge/Magistrate Location
                                                                SUPERSEDING                                 NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                      SAN FRANCISCO DIVISION
 21 U.S.C. § 841(a)(1) & (b)(1)(B)(viii) - Distribution and                     Petty
 possession with intent to distribute methamphetamine (B
 weight)                                                                        Minor              DEFENDANT - U.S
                                                                                Misde-
                                                                                meanor
                                                                                                  Melvin Diaz
                                                                                Felony
                                                                                                      DISTRICT COURT NUMBER
PENALTY:      • Imprisonment: 5 – 40 years (21 U.S.C. § 841(b)(1)(B))
              • Fine: $5 million (21 U.S.C. § 841(b)(1)(B))
              • Supervised Release: 4 years – life (21 U.S.C. § 841(b)(1)(B))
              • Special Assessment: $100 (18 U.S.C. § 3013(a)(2)(A))
              • Forfeiture 21 U.S.C. § 853(a)
                                                                                                                                DEFENDANT
                              PROCEEDING                                                                IS NOT IN CUSTODY
                                                                                                          Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                       1)       If not detained give date any prior
                          DEA TFO Michael Cunnie
                                                                                                          summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                               2)       Is a Fugitive
       give name of court
                                                                                                 3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                        IS IN CUSTODY
                                                                                                 4)       On this charge
       this is a reprosecution of

                                                                                                                                           }
       charges previously dismissed                                                              5)       On another conviction
       which were dismissed on motion                               SHOW                                                                             Federal         State


                                                          }
       of:                                                        DOCKET NO.
                                                                                                 6)       Awaiting trial on other charges
            U.S. ATTORNEY                DEFENSE
                                                                                                           If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                                    }
                                                                                                                          Yes            If "Yes"
       pending case involving this same                                                               Has detainer
                                                                                                                                         give date
       defendant                                                 MAGISTRATE                           been filed?         No             filed


                                                          }
                                                                  CASE NO.
       prior proceedings or appearance(s)                                                             DATE OF
                                                                                                      ARREST
                                                                                                                                Month/Day/Year
       before U.S. Magistrate regarding this
       defendant were recorded under                                                                  Or... if Arresting Agency & Warrant were not

                                                                                                                                               Month/Day/Year
Name and Office of Person
Furnishing Information on this form                  Stephanie M. Hinds
                                                                                                      DATE TRANSFERRED
                                                                                                      TO U.S. CUSTODY
                                                                                                                                    
                                  U.S. Attorney            Other U.S. Agency

Name of Assistant U.S.                                                                                     This report amends AO 257 previously submitted
Attorney (if assigned)                       Nicholas M. Parker
                                                         ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                NO PROCESS*                  WARRANT                  Bail Amount: No bail
        If Summons, complete following:
             Arraignment    Initial Appearance                                           * Where defendant previously apprehended on complaint, no new summons or
                                                                                         warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                         Date/Time:                                 Before Judge:

        Comments:
